 Mtjkdock, J., dissenting: Here there was in fact a sale of q capital asset held for more than six months. The statute requires that when such a capital asset is sold the amount realized from the sale shall be offset by the adjusted basis and the excess shall be taxed as a long term capital gain. Secs. 111 (a), (b), 117 (a) (1), (4). Cf. Rotorite Corporation v. Commissioner, 117 Fed. (2d) 245, reversing 40 B. T. A. 1304; Goldfields of America, Ltd., 44 B. T.A. 200; Helser Machine &amp; Marine Works, Inc., 39 B. T. A. 644; Judson Mills, 11 T. C. 25; Virginia Iron, Coal &amp; Coke Co., 37 B. T. A. 195; affd., 99 Fed. (2d) 919; certiorari denied, 307 U. S. 630. The report fails to follow the statute, and for reasons which I deem inadequate. 